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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

MUSKEGON COUNTY SHERIFF’S
DEPARTMENT, Case No. l : 1 8-cv-01074-PLM-RSK

Plaintiff,
v. Honorable Paul L. Maloney
HARBOR GUARD BOATS, INC.

Defendant.
Douglas M. Hughes (P30958)
Enrika L. F. McGahan (P55860)
Attomeys for Plaintiff
120 W. Apple Ave., P.O. Box 599
Muskegon, MI 49443-0599
(231) 726-4857

/

APPLICATION FOR ENTRY OF DEFAULT AND
DEFAULT JUDGMENT

Plaintiff submits this Application pursuant to Fed.R.Civ.P. 55 and states:

1. The Summons and Complaint were served on Defendant Harbor Guard Boats,
Inc. by personal service on the Registered Agent for Service of Process, Daniel F. Medina, on
September 20, 2018.

2. As of October 15, 2018, Defendant Harbor Guard Boats, Inc., has failed to
appear, plead, or otherwise defend as required by Fed.R.Civ.P. 12(a)(1)(A)(i) which allows
twenty-one (21) days to file a response.

3. Upon information and belief, Defendant Harbor Guard Boats, Inc. is an entity

incorporated under the laws of the State of Califomia.

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4. Upon information and belief, Defendant Harbor Guard Boats, Inc. is not in the
active military service.

5. Plaintiff’s claim is for a sum certain in the amount of $108,094.28. See attached
Affldavit of Sheriff Michael Poulin. (Exhibit l)

6. Pursuant to Fed.R.Civ.P. 55(a), Plaintiff requests the Clerk to enter the Default of
Defendant Harbor Guard Boats, Inc.

7. Pursuant to Fed.R.Civ.P. 55(b)(1), Plaintiff requests the Clerk to enter a Default
Judgment in the amount of $108,094.28 plus costs. See attached proposed Default Judgment
(Exhibit 2) and proposed Bill of Costs. (Exhibit 3)

WHEREFORE, based on the above, Plaintiff respectfully requests the entry of a Default

and a Default Judgment.

Dated: October 23, 2018 WILLIAMS HUGHES PLLC

By: /stoquas M. Hughes
Douglas M. Hughes (P30958)
Attorney for Plaintiff
120 W. Apple Avenue
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